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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


STATE OF GEORGIA,
                                                 Case No. 1:23-cv-3721-SCJ
  v.                                             (Related to:

JEFFREY BOSSERT CLARK,                           Case No. 1:23-cv-03621-SCJ)

  DEFENDANT.                                     Judge Steve C. Jones


                                                 On removal from the Fulton
                                                 County Superior Court

                                NOTIE OF FILING
       The undersigned counsel for Jeffrey Bosset Clark gives this Notice of Filing

Exhibit C to the Notice of Removal filed on August 21, 2023 in the above-

referenced case.

       This 22nd day of August 2023.

                                       Respectfully submitted,

                                       /s/ Harry W. MacDougald
                                       Harry W. MacDougald
                                       Georgia Bar No. 463076

Caldwell, Carlson, Elliott & DeLoach LLP
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Atlanta, Georgia 30346
(404) 843-1956
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Attorney for Jeffrey B. Clark
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        CERTIFICATE OF COMPLIANCE WITH L.R. 5.1
      The undersigned hereby certifies that this filing was prepared in the Times

New Roman size 14 font, in compliance with L.R. 5.1.

      This 21st day of August 2023.

                                      /s/ Harry W. MacDougald
                                      Georgia Bar No. 463076
                                      Attorney for Defendant

CALDWELL, CARLSON, ELLIOTT & DELOACH LLP
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                          CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing Amended Certificate of Service was filed

on August 22, 2023 and served on the persons listed below by the methods indicated.

I sign consistent with Federal Rule of Civil Procedure 11.

      By email:

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             Nathan J. Wade, Esq.
             Fulton County District Attorney's Office
             136 Pryor Street SW
             3rd Floor
             Atlanta GA 30303
             fani.willisda@fultoncountyga.gov
             nathanwade@lawyer.com

             The Honorable Christopher M. Carr
             Office of the Attorney General of Georgia
             40 Capitol Square, S.W.
             Atlanta GA 30334
             ccarr@law.ga.gov


      I have also served this filing by email on the following counsel who to my

knowledge are representing other defendants named in the underlying indictment:


Drew Findling- drew@findlinglawfirm.com;
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      This 21st day of August 2023.

                                      /s/ Harry W. MacDougald
                                      Georgia Bar No. 463076
                                      Attorney for Defendant Jeffrey B. Clark
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                                                   January 12, 2021

The President
The White House
Washington, D.C. 20500

Dear Mr. President,

       Effective as of Thursday January 14, 2021 at noon Eastern Standard Time and pursuant to
the Memorandum for Presidential Appointees regarding Letters of Resignation dated January 7,
2021, I hereby tender my resignation from the two positions you appointed me to at the
Department of Justice — the Assistant Attorney General of the Environment & Natural Resources
Division and the Acting Assistant Attorney General of the Civil Division.

        It has been my profound honor to serve as the leader of the Justice Department’s
Environment Division since 2018 and of its Civil Division since the Fall of 2020. I am deeply
thankful both to you for giving me the professional opportunity of a lifetime to guide and direct
the roughly 1,400 lawyers comprising those two litigating Divisions and to the Senate for their
vote of confirmation in October 2018.

         In the most recent fiscal year for which there is complete data, the Environment Division
obtained $858 million in civil and criminal fines, penalties, and costs recovered for the United
States, with the injunctive relief we secured stacking another $3.4 billion on top of that. And by
way of comparison, in just one slice of the work of the immense Civil Division, we recovered $2.2
billion in settlements and judgments to remedy fraud and false claims perpetrated on the United
States in fiscal year 2020. It is a singular privilege to protect and nourish the public fisc in these
ways.

        But I am perhaps most proud of my close and intense work with your Council on
Environmental Quality on reforming the National Environmental Policy Act’s (“NEPA’s”)
regulations for the first time in 40 years. I also successfully defended those regulations on my
feet in court against two challenges — one trying to block the regulations from ever becoming
final and one trying to stop them in their tracks a short time after they were promulgated and
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published. NEPA reform is just one of the ways I assisted the Administration in “right‐sizing
regulation,” which I think of as vigorously protecting the environment, but in more efficient
ways that lower compliance costs, allowing the national economy to grow and prosper.

        In addition to managing the Environment and Civil Divisions, I also maintained an active
personal litigation docket, arguing the most cases of any Assistant Attorney General in 2017‐2021,
most of which were cases in the federal courts of appeal. That work also brought significant
victories (indeed, an 88% win rate) for the Office of Management and Budget, the Office of Science
and Technology Policy, the Environmental Protection Agency, the Chemical Safety Board, as well
as the Departments of Agriculture, Commerce, Defense, Energy, Interior, State, and
Transportation.

        Thank you again for the humbling opportunity to serve. My tenure in your
Administration spanned two Attorneys General — Sessions and Barr — and two Acting
Attorneys General — Whitaker and Rosen. I learned much from each of those colleagues and
their approach to public service.

        I wish you well in your own return to private life. And I hope you will join me in praying
for the Nation’s best welfare in trying times.


                                                    Sincerely,




                                                    Jeffrey Bossert Clark
